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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
                                _________


LISA POSTHUMUS LYONS,

       Petitioner,                            Hon. Phillip J. Green

v.                                            Case No. 1:22-mc-00107


MY PILLOW, INC., et al.,

       Respondents.
________________________________/

                                      ORDER

      This matter is before the Court on Petitioner’s Motion to Quash Subpoena and

for Sanctions. (ECF No. 1). Respondents filed a response in opposition to the motion

(ECF No. 8), and Petitioner replied (ECF No. 14). The Court held a hearing today at

which counsel for all parties appeared. Having considered the parties oral and

written submissions, and for the reasons stated on the record, the motion (ECF No. 1)

is GRANTED. Accordingly,

      IT IS ORDERED that the subpoena to the Kent County Clerk (ECF No. 1-7)

is hereby QUASHED.

      Further, and for the reasons stated on the record, the Court will impose

sanctions against Respondents in the form of attorney’s fees and costs incurred by

Petitioner in bringing and pursuing the instant motion. See FED. R. CIV. P. 45(d)(1).

Accordingly,
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      IT IS ORDERED that Petitioner shall, no later than fourteen days from the

date of this Order, file a petition for attorney’s fees and costs associated with the

motion to quash.

      IT IS FURTHER ORDERED that Respondent shall, no later than fourteen

days from the service of that petition, file a response. Any issue not timely addressed

will result in a waiver of that issue.


      IT IS SO ORDERED.


Date: November 29, 2022                       /s/ Phillip J. Green
                                              PHILLIP J. GREEN
                                              United States Magistrate Judge




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